        Case 1:13-cr-00271-LTS Document 1008 Filed 11/02/20 Page 1 of 4




                           UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA                                    Case No.      01:13crim271-21 (LTS)
                                                            USM #        05861-748               .
              v.                                            ORDER ON MOTION FOR
                                                            SENTENCE REDUCTION UNDER
                                                            18 U.S.C. § 3582(c)(1)(A)
ALSHAQUEN NERO                                              (COMPASSIONATE RELEASE)


       Upon motion of ☐
                      X the defendant ☐ the Director of the Bureau of Prisons for a reduction

in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the applicable factors

provided in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the Sentencing

Commission,

IT IS ORDERED that the motion is:

☐ GRANTED for the reasons stated in the Memorandum Decision and Order filed herewith.

       ☐ The defendant’s previously imposed sentence of imprisonment of _______________

is reduced to _____________________. If this sentence is less than the amount of time the

defendant already served, the sentence is reduced to a time served; or

       ☐ Time served.

       If the defendant’s sentence is reduced to time served:

               ☐       This order is stayed for up to fourteen days, for the verification of the

                      defendant’s residence and/or establishment of a release plan, to make

                      appropriate travel arrangements, and to ensure the defendant’s safe

                      release. The defendant shall be released as soon as a residence is verified,

                      a release plan is established, appropriate travel arrangements are made,
 Case 1:13-cr-00271-LTS Document 1008 Filed 11/02/20 Page 2 of 4




               and it is safe for the defendant to travel. There shall be no delay in

               ensuring travel arrangements are made. If more than fourteen days are

               needed to make appropriate travel arrangements and ensure the

               defendant’s safe release, the parties shall immediately notify the court and

               show cause why the stay should be extended; or

       ☐       There being a verified residence and an appropriate release plan in place,

               this order is stayed for up to fourteen days to make appropriate travel

               arrangements and to ensure the defendant’s safe release. The defendant

               shall be released as soon as appropriate travel arrangements are made and

               it is safe for the defendant to travel. There shall be no delay in ensuring

               travel arrangements are made. If more than fourteen days are needed to

               make appropriate travel arrangements and ensure the defendant’s safe

               release, then the parties shall immediately notify the court and show

               cause why the stay should be extended.

☐ The defendant must provide the complete address where the defendant will reside

upon release to the probation office in the district where they will be released because it

was not included in the motion for sentence reduction.

☐ Under 18 U.S.C. § 3582(c)(1)(A), the defendant is ordered to serve a “special term”
  of

☐ probation or ☐ supervised release of ___ months (not to exceed the unserved portion
of the original term of imprisonment).

       ☐ The defendant’s previously imposed conditions of supervised release apply to

       the “special term” of supervision; or

       ☐ The conditions of the “special term” of supervision are as follows:


                                         2
         Case 1:13-cr-00271-LTS Document 1008 Filed 11/02/20 Page 3 of 4




               ______________________________________________________________________________

               _________________________________________________________________

               _________________________________________________________________

               _________________________________________________________________

              _
       ☐ The defendant’s previously imposed conditions of supervised release are unchanged.

       ☐ The defendant’s previously imposed conditions of supervised release are modified as
       follows:




☐ DEFERRED pending supplemental briefing and/or a hearing. The court DIRECTS the United

States Attorney to file a response on or before _________________, along with all Bureau of

Prisons records (medical, institutional, administrative) relevant to this motion.

☐
X DENIED after complete review of the motion on the merits.

       ☐
       X FACTORS CONSIDERED (Optional)

                      See Memorandum Order filed herewith.




                                                 3
        Case 1:13-cr-00271-LTS Document 1008 Filed 11/02/20 Page 4 of 4




☐ DENIED WITHOUT PREJUDICE because the defendant has not exhausted all administrative

remedies as required in 18 U.S.C. § 3582(c)(1)(A), nor have 30 days lapsed since receipt of the

defendant’s request by the warden of the defendant’s facility.

IT IS SO ORDERED.

Dated: November 2, 2020

                                                            /s/ Laura Taylor Swain .
                                                         LAURA TAYLOR SWAIN
                                                    UNITED STATES DISTRICT JUDGE




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